
This matter is before the Court under Florida Rule of Appellate Procedure 9.142(b), on a petition to review the trial court’s nonfinal order replacing the former Capital Collateral Counsel-North (CCRC-North) attorney with different registry counsel. Sweet, who is under a sentence of death, has a first successive rule 3.850 motion pending before the trial court. Appointment of counsel at this stage of the proceedings was necessitated by the unique circumstance of the defunding of CCRC-North pursuant to a pilot program for the 2004 fiscal year.
Having considered the arguments of the parties, this Court remands the case to the trial court to comply with the requirements of section 27.710(5), Florida Statutes (2003), to wit:
The trial court must issue an order of appointment which contains specific findings that the appointed counsel meets the statutory requirements and has the high ethical standards necessary to represent a person sentenced to death.
In all other respects, the petition is denied.
PARIENTE, C.J., and ANSTEAD, LEWIS, QUINCE, CANTERO, and BELL, JJ., concur.
PARIENTE, C.J., concurs with an opinion, in which ANSTEAD, J., concurs.
WELLS, J., dissents with an opinion.
